     Case 3:18-cr-05029-W Document 17 Filed 11/20/18 PageID.45 Page 1 of 2




 1
                                                                             FILED
 2                                                                       I Nov 20 2018
                                                                        CLERK, U.S. DISTRICT COURT
 3                                                                   SOUTHERN DISTRICT OF CALIFORNIA
                                                                    BY           s1 erikaf      DEPUTY
 4

 5
                               'UNITED STATES DISTRICT COURT
 6
                              SOUTHERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,                             Case No.:     '18CR5029W
 8
                               Plaintiff,                  I N F 0 R MA T I 0 N
 9
           v.                                              Title 21, U.S.C., Secs. 952
10                                                         and 960 - Importation of
     AUSTIN TRAVIS DEMPSEY,                                Methamphetamine and Cocaine
11                                                         (Felony)
                               Defendant.
12

13
14        The United States Attorney charges:

15                                           Count 1
16         On or about October 28,               2018,   within the Southern District of
17   California,     defendant      AUSTIN       TRAVIS     DEMPSEY,     did      knowingly              and

18   intentionally import 500 grams and more, to wit:                    approximately 57.54
19   kilograms     ( 126. 85 pounds)   of a mixture and substance containing a

20   detectable     amount     of   methamphetamine,          a    Schedule II            Controlled

21   Substance,    into the United States from a place outside thereof;                                   in

22   violation of Title 21, United States Code, Sections 952 and 960.

23                                           Count 2
24        On or about October 28,            2018,       within the Southern District of

25   California,     defendant      AUSTIN        TRAVIS    DEMPSEY,     did      knowingly              and

26   intentionally import 5 kilograms and more, to wit:                   approximately 14.72
27   kilograms     (32. 45   pounds)   of    a    mixture    and   substance         containing            a

28
     CMMC:lf:ll/19/2018
     Case 3:18-cr-05029-W Document 17 Filed 11/20/18 PageID.46 Page 2 of 2




 1 detectable amount of cocaine, a Schedule II Controlled Substance, into

 2   the   United   States   from   a   place   outside   thereof;   in   violation   of

 3 Title 21, United States Code, Sections 952 and 960.

           DATED:    11/20/18
 4

 5                                              ADAM L. BRAVERMAN
                                                United States Attorney
 6

 7
                                                COLIN M. MCDONALD
 8
                                                Assistant U.S. Attorney
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                2
